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                                                                                May 31, 2024


                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA



   In the Matter of the Reassignment of     )
   Cases from the Calendar                  )              ORDER OF THE CHIEF JUDGE
                                            )                         24-076
                                            )
   of                                       )
                                            )
   Judge CORMAC J. CARNEY                   )
                                            )

         IT IS ORDERED, with the concurrence of the Case Management and Assignment

   Committee, that the following cases be transferred from the calendar of Judge Cormac J.

   Carney to the calendar of Judge Wesley L. Hsu for all further proceedings:

         2:22-cr-00520-CJC                      USA v. Vargas-Aldaco, et al.
         8:23-cr-00009-CJC                      USA v. Robinson
         2:21-cv-04920-CJC-ADSx                 Serena Fleites et al v. MindGeek
                                                S.A.R.L. et al
         8:21-cv-00338-CJC-ADSx                 Jane Doe v. MindGeek USA
                                                Incorporated et al
         5:22-cv-02026-CJC-SPx                  Edward Singelyn v. PNC Bank,
                                                National Association et al
         8:18-cv-00564-CJC-DFMx                 Philadelphia Indemnity Insurance
                                                Company v. Stephouse Recovery, Inc.
                                                et al
         8:23-cv-00195-CJC-KESx                 Erma Parker et al v. Country Oaks
                                                Partners, LLC et al
         8:23-cv-01406-CJC-DFMx                 Sara Salari v. Walt Disney Parks and
                                                Resorts U.S., Inc. et al
         8:23-cv-01805-CJC-DFMx                 Total Vision, LLC et al v. Vision
                                                Service Plan et al
         8:23-cv-02264-CJC-ADSx                 Shantou Xiahong Toys Co., Ltd. v.
                                                Matsunichi Digital USA, Inc. et al
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   In the Matter of the
   Reassignment of Cases from the
   Calendar of Judge Cormac J. Carney                                                     2

         8:24-cv-00155-CJC-ADSx               Dallas Engler et al v. Amazon.com
                                              Services LLC et al
         8:24-cv-00469-CJC-KESx               Ghodsi Sholevar v. Walmart Inc. et al
         8:24-cv-00601-CJC-KESx               Ameris Bank et al v. Arlington
                                              Preventive Care Medical Clinic, P.A.,
                                              et al
         8:24-cv-00842-CJC-DFMx               Julio Cruz v. Birrieria Guadalajara et al


          On all documents subsequently filed in the case, please substitute the Judge initials

   WLH after the case number in place of the initials of the prior Judge.



   Dated: May 31, 202
                                                    Chief Judge Dolly M. Gee
